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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


 JORGE GOMEZ                                                      CIVIL ACTION

 VERSUS                                                           NO. 19-11803

 THE CITY OF NEW ORLEANS,                                         SECTION M (1)
 JOHN GALMAN, and SPENCER
 SUTTON




                                              ORDER

       Considering plaintiff’s motion to substitute deceased defendant Spencer Sutton with

Lowell Scott Sutton as the personal representative of the estate of Spencer Sutton,1 and

defendants’ failure to oppose the motion,

       IT IS ORDERED that the motion (R. Doc. 79) is GRANTED and that Spencer Sutton is

replaced as defendant with “Lowell Scott Sutton as the personal representative of the estate of

Spencer Sutton.”

           New Orleans, Louisiana, this 16th day of June, 2022.



                                                      _______________________________
                                                      BARRY W. ASHE
                                                      UNITED STATES DISTRICT JUDGE




       1
           R. Doc. 79.
